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                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                                 ___________

                                     No. 18-2236
                                     ___________

                       HARISADHAN PATRA; PETULA VAZ,
                                        Appellants

                                           v.

 PENNSYLVANIA STATE SYSTEM OF HIGHER EDUCATION; BLOOMSBURG
 UNIVERSITY OF PENNSYLVANIA; FRANK T. BROGAN, individually and in his
official capacity as Chancellor; DAVID SOLTZ, individually and in his official capacity
as President of Bloomsburg University; RICHARD ANGELO; JORGE E. GONZALEZ;
           IRA BLAKE; ROBERT P. MARANDE; THOMAS R. ZALEWSKI
                       ____________________________________

                    On Appeal from the United States District Court
                        for the Middle District of Pennsylvania
                        (D.C. Civil Action No. 4:14-cv-02265)
                     District Judge: Honorable Matthew W. Brann
                     ____________________________________

                   Submitted Pursuant to Third Circuit LAR 34.1(a)
                                  February 8, 2019
             Before: KRAUSE, SCIRICA and NYGAARD, Circuit Judges
                                   ___________

                                     JUDGMENT
                                     ___________

       This cause came to be considered on the record from the United States District
Court for the Middle District of Pennsylvania and was submitted pursuant to Third
Circuit LAR 34.1(a) on February 8, 2019. On consideration whereof, it is now hereby
       ORDERED and ADJUDGED by this Court that the orders of the District Court
entered March 16, 2017, and May 8, 2018, be and the same are hereby affirmed in part,
vacated in part, and this matter is remanded for further proceedings. Costs will not be
taxed. All of the above in accordance with the opinion of this Court.
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                                               ATTEST:


                                               s/Patricia S. Dodszuweit
                                               Clerk
Dated: July 12, 2019
